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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


    IN  RE:  FTX  CRYPTOCURRENCY No: 1:23-md-03076-KMM
    EXCHANGE COLLAPSE LITIGATION
                                 MDL No. 3076



    This Document Relates To:

    GARRISON V. BANKMAN-FRIED
    No. 22-cv-23753-MOORE/OTAZO-REYES


     DEFENDANT SHOHEI OHTANI’S SUPPLEMENTAL MEMORANDUM OF LAW
                   IN SUPPORT OF MOTION TO DISMISS
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             Plaintiffs have not alleged any conduct by Mr. Ohtani that could conceivably form the basis

   of a tort or fraud claim under U.S. law. Moreover, the claims asserted by Plaintiffs Garrison and

   Kavuri are barred and should be dismissed pursuant to the “two-dismissal” rule and res judicata

   because they already filed and voluntarily dismissed two separate cases against Mr. Ohtani

   stemming out of the same operative facts. The claims against Mr. Ohtani should be dismissed.

             From his home in Tokyo, Japan, Mr. Ohtani, a Japanese citizen and resident, 1 entered into

   an agreement with Bahamas-based FTX to license his name, image, and likeness to promote FTX’s

   international business in the Japanese market. Ohtani Decl. ¶¶ 2, 8, 11; CAC ¶¶ 579 n.238, 588.

   The CAC concedes this: the only conduct Plaintiffs allege Mr. Ohtani engaged in were (1)

   appearing on a billboard in Tokyo, CAC ¶ 588, (2) being referenced by third-parties in the press

   about agreeing to serve as the Japanese ambassador for Bahamas-based FTX, id. ¶ 584, and (3)

   appearing in two commercials where other actors said that Mr. Ohtani is “into crypto [and] NFTS”

   and that Mr. Ohtani used FTX, id. ¶¶ 586, 587. But the CAC makes no mention of any statement

   by Mr. Ohtani. This makes sense, because Mr. Ohtani does not make public statements in English

   and his agreement with FTX was directed towards the Japanese market. Ohtani Decl. ¶¶ 12, 18.

             Plaintiffs, a mix of British, Canadian, German, and American residents—none of whom

   reside in Japan or allege to have viewed or relied on any of Mr. Ohtani’s purported promotional

   content anywhere in the world—indiscriminately allege that they were fraudulently induced to

   invest in FTX by 40 distinct and unrelated MDL Defendants. Under Plaintiffs’ theory, Mr.


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       Although Plaintiffs allege that Mr. Ohtani is a “citizen and resident of the State of California,”

   CAC ¶ 65, he is in fact a citizen and resident of Japan. See Declaration of Shohei Ohtani, attached

   hereto as Exhibit A (hereinafter “Ohtani Decl.”) ¶ 2.
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   Ohtani’s appearance on a Japanese billboard is equally responsible for FTX’s fraud and Plaintiffs’

   losses as Sam Bankman-Fried, FTX’s lawyers and accountants, and highly sophisticated

   investment funds. But the CAC does not support any such nexus.

          Even more, Plaintiffs do not allege that Mr. Ohtani committed a single promotional act in

   or directed at Florida or Oklahoma or California, let alone a deceptive act. In fact, the CAC

   purports to provide “[s]pecific examples of [Mr. Ohtani’s] promotions of FTX,” CAC ¶ 583, but

   four out of six examples allege conduct attributable to third parties, not Mr. Ohtani. See CAC ¶ 584

   (FTX and Sports Business Journal tweets about Mr. Ohtani partnership with FTX); ¶ 585 (FTX

   tweet about Mr. Ohtani’s video game feature); ¶ 588 (FTX tweet of billboards in Japan); and ¶ 590

   (newspaper article about Mr. Ohtani’s baseball career).

          Plaintiffs only allege that Mr. Ohtani appeared in two FTX commercials on the internet,

   but fail to allege how Mr. Ohtani’s appearances in these commercials—in which Plaintiffs do not

   allege Mr. Ohtani said a single word—somehow misled them. CAC ¶¶ 586, 587. Nor do Plaintiffs

   allege where the ads were filmed or created, whether the content was broadcast in certain locales,

   or where and whether Plaintiffs viewed or relied on these ads. Without any such allegation,

   Plaintiffs’ fraud-based claims must be dismissed for lack of a nexus to each state from which they

   seek protection under their laws. See Team Servs., Inc. v. Securitas Elec. Sec., Inc., 2021 WL

   9350987, at *5 (S.D. Fla., Aug. 9, 2021) (Moore, J.) (dismissing FDUTPA claim where plaintiffs

   failed to allege “any unfair, deceptive, or unconscionable practices took place within the State of

   Florida”); In re Toyota Motor Corp., 785 F. Supp. 2d 883, 917 (C.D. Cal. 2011) (dismissing UCL

   claim where foreign plaintiffs failed to allege that the offending conduct occurred in California or

   was seen (or could have been seen) by plaintiffs in California); Cont’l Res., Inc. v. Wolla Oilfield

   Servs., LLC, 510 P.3d 175, 180 (Okla. 2022) (holding OCPA inapplicable where offending




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   conduct occurs solely outside of Oklahoma).

          The same applies to the various state securities law claims in Florida, Oklahoma, and

   California. Plaintiffs do not allege that they relied on Mr. Ohtani’s purported promotional content

   in those states to make their decision to invest in FTX within those states. See Fla. Stat. § 517.07(1)

   (prohibiting unlawful sales of securities “within this state”); Cal. Corp. Code § 25110 (prohibiting

   unlawful sales of securities “in this state”); 71 O.S. § 1-301 (making it “unlawful for a person to

   offer or sell a security in this state,” subject to certain inapplicable exceptions) (emphasis added).

          And while Mr. Ohtani contends the law is clear that the CAC fails to state any claim against

   him, the Court has a separate basis to dismiss all claims asserted by Plaintiffs Garrison and Kavuri.

   They both previously filed and voluntarily dismissed at least two actions against Mr. Ohtani. See

   Garrison v. Bankman-Fried, 1:22-cv-23753-KMM at ECF 14 (S.D. Fla. Dec. 8, 2022) (Garrison

   Dismissal #1); Kavuri v. Bankman-Fried, 1:22-cv-23817-DPG at ECF 5 (S.D. Fla. Dec. 8, 2022)

   (Kavuri Dismissal #1); Garrison v. Ohtani, 2:23-cv-05951-AB at ECF 10 (C.D. Cal. July 24, 2023)

   (Garrison and Kavuri Dismissal #2). Fed. R. Civ. P. 41(a)(1)(B) dictates that a plaintiff’s second

   voluntary dismissal of the same claim “operates as an adjudication on the merits.” Id.

          Consequently, two voluntary dismissals invoke the doctrine of res judicata and bar a

   subsequent lawsuit. Sealey v. Branch Banking & Tr. Co., 693 F. App’x 830, 834 (11th Cir. 2017).

   And although Garrison and Kavuri assert two new claims, res judicata “extends to all legal theories

   and claims arising out of the same operative nucleus of fact and bars all subsequent suits raising

   allegedly new theories.” Langermann v. Dubbin, 2014 WL 11429294, at *3 (S.D. Fla. Oct. 16,

   2014) (Moore, J.). All of their claims arise from the same set of facts and are based on the same

   theories: Plaintiffs were allegedly induced into investing in FTX by Mr. Ohtani’s allegedly

   deceptive promotional content. Thus, Plaintiffs Garrison and Kavuri’s claims must be dismissed.




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   DATED: September 21, 2023            Respectfully submitted,
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                                       CERTIFICATE OF SERVICE

          I hereby certify that on this September 21, 2023, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record via transmission of Notices of Electronic Filing

   generated by CM/ECF.

   DATED: September 21, 2023                       /s/ Edward Soto
                                                   Edward Soto
